
PER CURIAM.
11 Denied. The application was not timely filed in the district court, and relator has failed to carry his burden to show that an exception applies. La.C.Cr.P. art. 930.8; State ex rel Glover v. State, 93-2330 (La.9/5/95), 680 So.2d 1189. Moreover, relator’s application is repetitive pursuant to La.C.Cr.P. art. 930.4.
Relator has now fled and fully litigated his application for post-conviction relief in the state courts. Similar to federal habeas relief, see 28 U.S.C. § 2244, Louisiana post-conviction procedure envisions the fling of a second or successive application only under the -narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in La. C.Cr.P. art. 930.8. Notably, -the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive-.filings mandatory.. Relator’s claims have now been fully litigated in accord with La.C.Cr.P.-art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the fling of a successive ^application applies, relator has exhausted his right to state collateral review. The *559District Court is ordered to record a minute entry consistent with this per curiam,
